64 F.3d 673
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Theos WARREN, Petitioner,v.OFFICE OF PERSONNEL MANAGEMENT, Respondent.
    No. 95-3461.
    United States Court of Appeals, Federal Circuit.
    July 17, 1995.
    OPM
    
      1
      PETITION REINSTATED.
    
    ORDER
    
      2
      Theos Warren's motion for leave to proceed in forma pauperis having been granted,
    
    IT IS ORDERED THAT:
    
      3
      (1)  The court's May 18, 1995 dismissal order is vacated, the mandate is recalled, and Warren's petition is reinstated.
    
    
      4
      (2)  The Office of Personnel Management should compute the due date for its brief from the date of reinstatement.
    
    